 Case 2:18-mc-51358-BAF ECF No. 6 filed 10/10/18   PageID.108   Page 1 of 16




                   UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION


UNITED STATES OF AMERICA,               Case No. 18-mc-51358

           Plaintiff,                   Honorable Bernard A. Friedman

v.
                                        DEFENDANTS’ RESPONSE TO
                                        MOTION TO FILE AMICUS
                                        BRIEF AND MOTION TO
                                        STRIKE
JUMANA NAGARWALA, D-1
FAKHRUDDIN ATTAR, D-2,
FARIDA ATTAR, D-3,
TAHERA SHAFIQ, D-4,
FARIDA ARIF, D-5
FATEMA DAHODWALA, D-6
HASEENA HALFAL, D-7, and
ZAINAB HARIYANAWALA, D-8

          Defendants.
________________________________________/

     The above-captioned Defendants, by and through their respective

Counsel, respectfully request that this Court enter an order denying

permission to file an amicus brief and strike the pleadings already filed

by Equality Now, Sahiyo, WeSpeakOut, and Safe Hands for Girls for

the reasons stated in Defendants’ Brief below. Concurrence was sought

regarding the request herein, however, the government and counsel for

                                    1
 Case 2:18-mc-51358-BAF ECF No. 6 filed 10/10/18   PageID.109   Page 2 of 16




the moving parties, Equality Now, WeSpeakOut, Sahiyo and Safe

Hands for Girls, do not agree.

                                  Respectfully submitted,

Dated: 10/10/2018                 /s/ Shannon M. Smith
                                  SHANNON M. SMITH
                                  Attorney for Jumana Nagarwala

Dated: 10/10/2018                 /s/ Mary Chartier
                                  MARY CHARTIER
                                  Attorney for Fakhruddin Attar

Dated: 10/10/2018                 /s/ Matthew Newburg
                                  MATTHEW NEWBURG
                                  Attorney for Farida Attar

Dated: 10/10/2018                 /s/ Jerome Sabbota
                                  JEROME SABBOTA
                                  Attorney for Tahera Shafiq

Dated: 10/10/2018                 /s/ Anjali Prasad
                                  ANJALI PRASAD
                                  Attorney for Farida Arif

Dated: 10/10/2018                 /s/ Brian M. Legghio
                                  BRIAN M. LEGGHIO
                                  Attorney for Fatema Dahodwala

Dated: 10/10/2018                 /s/ Lisa L. Dwyer
                                  LISA L. DWYER
                                  Attorney for Haseena Halfal

Dated: 10/10/2018                 /s/ Patricia A. Maceroni
                                  PATRICIA A. MACERONI
                                  Attorney for Zainab Hariyanawala

                                    2
 Case 2:18-mc-51358-BAF ECF No. 6 filed 10/10/18   PageID.110   Page 3 of 16




                  UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION


UNITED STATES OF AMERICA,               Case No. 18-mc-51358

          Plaintiff,                    Honorable Bernard A. Friedman

v.                                      BRIEF IN SUPPORT OF
                                        DEFENDANTS’ RESPONSE TO
                                        MOTION TO FILE AMICUS
                                        BRIEF AND MOTION TO
                                        STRIKE
JUMANA NAGARWALA, D-1
FAKHRUDDIN ATTAR, D-2,
FARIDA ATTAR, D-3,
TAHERA SHAFIQ, D-4,
FARIDA ARIF, D-5
FATEMA DAHODWALA, D-6
HASEENA HALFAL, D-7, and
ZAINAB HARIYANAWALA, D-8

          Defendants.
________________________________________/

                   BACKGROUND INFORMATION

     In the above-captioned matter, Defendants are charged by a Third

Superseding Indictment in Case Number 17-cr-20274, pending before

this Honorable Court. (Doc. 334.) Defendants are charged with various

counts of Female Genital Mutilation, contrary to 18 U.S.C. §§ 116 and

2, and Conspiracy to Commit Female Genital Mutilation, contrary to 18

                                    3
 Case 2:18-mc-51358-BAF ECF No. 6 filed 10/10/18   PageID.111   Page 4 of 16




U.S.C. § 371. Defendants filed a Motion to Dismiss Counts 1 through 5

of the Indictment, and with the Court’s permission, a lengthy Brief

arguing that Congress exceeded its constitutional authority in the

passage of 18 U.S.C. § 116 (at the time only the Second Superseding

Indictment had been filed). (Doc. 307.) On September 17, 2018, the

government filed a lengthy response which included a 55-page brief

accompanied by 21 exhibits, totaling 290 pages. The lead author of the

government’s brief is an attorney at the Department of Justice in

Washington, D.C., who specializes in human rights and special

prosecutions. (Doc. 336.)

     One day after the government filed its response, on September 18,

2018, Equality Now, through its attorneys, sought concurrence from the

above-captioned Defendants to file an amicus brief. On September 24,

2018, Equality Now, Sahiyo, WeSpeakOut, and Safe Hands for Girls

filed a joint motion to file an amicus brief to support the government

and filed a proposed 26-page amicus brief, along with 15 pages in

Appendices. According to the pleadings, Equality Now is “an

international human rights organization that advocates for the

protection and promotion of the rights of women and girls worldwide…”

                                    4
 Case 2:18-mc-51358-BAF ECF No. 6 filed 10/10/18   PageID.112   Page 5 of 16




(Doc. 4 at 1.) Safe Hands for Girls is an organization “to help eradicate

FGM and other gender-based violence.” (Id.) Equality Now and Safe

Hands for Girls do not claim to have any relationship to the Dawoodi

Bohra and rely on an abundance of material that is not relevant to this

instant case.

     Sahiyo claims to be “a non-governmental organization that

empowers Asian communities—including the Bohra community—to end

FGM…” (Doc. 4 at 2.). WeSpeakOut claims to be “the largest FGM

survivor-led organization of Bohra women in India.” (Doc. 4 at 3.) Both

Sahiyo and WeSpeakOut claim to have studied the Bohra community

and the practice of khafz or khatna. “Khafz” is the term that describes

the Dawoodi Bohra’s religious practice of female circumcision.

     While Sahiyo and WeSpeakOut claim their “research” concludes

that women in the Dawoodi Bohra community want the practice

stopped, this has absolutely no relevance on the matter before the Court

with regard to Congress’ authority to enact 18 U.S.C. § 116. The fact

that WeSpeakOut is involved with “pending litigation before the

Supreme Court of India concerning the practice” additionally offers no

value or relevance to this case. (Doc. 4 at 3.)

                                     5
 Case 2:18-mc-51358-BAF ECF No. 6 filed 10/10/18               PageID.113      Page 6 of 16




     Similarly, the “research” that Sahiyo and WeSpeakOut rely on is

not applicable or persuasive to the issue at hand – determining whether

the United States Congress had proper legal authority to enact the

FGM law. It is significant, however, to point out that while these groups

characterize themselves as Dawoodi Bohra, they are not a part of the

religious organization that Defendants in this instant case belong to.

To the contrary, there are a number of Dawoodi Bohra who claim to

practice a more “progressive” form of the religion.

     Additionally, there also exists a splinter group of Dawoodi Bohra.

In 2014, the Dawoodi Bohra Muslims Dawoodi Bohra Muslims became

divided, primarily due to a succession battle over leadership.1 Legal

disputes over who is considered the spiritual leader of the Bohras

continue in the High Courts of India. The Defendants in this instant

case believe that Mufaddal Saifuddin was nominated the successor

spiritual leader at the time of his father’s death. The splinter sect of

Dawoodi Bohra believe that it was not the leader’s son, but rather his

half-brother, Khuzaima Qutbuddin, who became the successor. Issues

that have further divided the sects include the centuries old practice of

     1
         See e.g. https://www.thenational.ae/world/leadership-dispute-divides-india-s-dawoodi-

                                               6
  Case 2:18-mc-51358-BAF ECF No. 6 filed 10/10/18   PageID.114   Page 7 of 16




female circumcision. While these issues may be relevant at trial in this

matter, they are not relevant as to Congress’ authority to enact the

FGM statute. Nevertheless, many who claim to be “Dawoodi Bohra” are

not a part of the organization the Defendants in this case belong to.

       Further, the “progressive” Dawoodi Bohra group also does not

adhere to all of the requirements of the religion. An issue in dispute

between the devout Dawoodi Borhra and the progressive members

includes the issue of female circumcision. Again, this is irrelevant to

the issue at hand – whether Congress had authority to enact the statute

– however, it provides context to the agendas of those seeking to file

amicius materials in this case.

       Additionally, the movants’ Appendix 2, which contains stories of

women who have undergone “mutilation,” may be emotionally charged,

yet, the stories of random women also offer no value to the movants’

argument. This is particularly true when some of the authors have

admitted to the schism between the sects of the Dawoodi Bohra.

Further, some of the women who wrote the stories come from the

community of “progressives” who clearly have a bias and agenda in


bohra-sect-1.284402 (Accessed October 5, 2018).

                                             7
 Case 2:18-mc-51358-BAF ECF No. 6 filed 10/10/18   PageID.115   Page 8 of 16




mind, which has zero to offer in terms of whether Congress had

authority to enact the law at issue.

     For the reasons cited below, in addition to the complete

irrelevance of the information discussed above, Defendants request this

Court deny the motion of Equality Now, WeSpeakOut, Sahiyo and Safe

Hands for Girls and strike the current proposed amicus brief that has

been filed.

                                ARGUMENT

     A.       The Rules of Criminal Procedure and Local Court Rules do
              not anticipate the filing of amicus briefs at this stage of
              litigation.

     Neither the Rules of Criminal Procedure nor this District’s Local

Rules allow for the filing of an amicus brief at this stage in District

Court. Federal Rule of Appellate Procedure 29 governs the filing of

amicus briefs on appeal. Defendants suggest it provides appropriate

guidance for the Court.

     F.R.A.P. 29 provides that other than the government or a state,

“[a]ny other amicus curiae may file a brief only by leave of court.”

F.R.A.P. 29(2). A motion for leave to file an amicus brief must be

accompanied by the proposed brief and state the movant's interest and

                                       8
    Case 2:18-mc-51358-BAF ECF No. 6 filed 10/10/18              PageID.116      Page 9 of 16




“the reason why an amicus brief is desirable and why the matters

asserted are relevant to the disposition of the case.” F.R.A.P. 29(3).2

        The purpose of an amicus brief is to assist the Court and to

provide unique information or perspective beyond that which the

lawyers for the parties are able to provide. In Ryan v. Commodity

Futures Trading Commission, 125 F. 3d 1062, 1062-1063 (7th Cir.

1997), in an opinion by Judge Posner in chambers, the Court declined

the request of the Commission to file an amicus brief, because the

proposed brief simply echoed arguments already made by the

Petitioner:

        The tendency of many judges of this court, including myself,
        has been to grant motions for leave to file amicus curiae
        briefs without careful consideration of “the reasons why a
        brief of an amicus curiae is desirable,” although the rule
        makes this a required part of the motion. After 16 years of
        reading amicus curiae briefs the vast majority of which have
        not assisted the judges, I have decided that it would be good
        to scrutinize these motions in a more careful, indeed a fish-
        eyed, fashion.

        The vast majority of amicus curiae briefs are filed by allies of
        litigants and duplicate the arguments made in the litigants'
        briefs, in effect merely extending the length of the litigant's
        brief. Such amicus briefs should not be allowed. They are

2 The length of the brief may be no more than one half the maximum authorized for a
party’s principal brief, and if a court grants a party permission to file a longer brief, that
extension does not extend the length of an amicus brief. F.R.A.P. 29(5).

                                                9
 Case 2:18-mc-51358-BAF ECF No. 6 filed 10/10/18   PageID.117   Page 10 of 16




     an abuse. The term "amicus curiae" means friend of the
     court, not friend of a party. United States v. Michigan, 940
     F.2d 143, 164-65 (6th Cir.1991). We are beyond the original
     meaning now; an adversary role of an amicus curiae has
     become accepted. Id. at 165. But there are, or at least there
     should be, limits. Cf. New England Patriots Football Club,
     Inc. v. University of Colorado, 592 F.2d 1196, 1198 n. 3 (1st
     Cir.1979). An amicus brief should normally be allowed when
     a party is not represented competently or is not represented
     at all, when the amicus has an interest in some other case
     that may be affected by the decision in the present case
     (though not enough affected to entitle the amicus to
     intervene and become a party in the present case), or when
     the amicus has unique information or perspective that can
     help the court beyond the help that the lawyers for the
     parties are able to provide. See, e.g., Miller-Wohl Co. v.
     Commissioner of Labor & Industry, 694 F.2d 203 (9th
     Cir.1982) (per curiam). Otherwise, leave to file an amicus
     curiae brief should be denied.
                                   ***
     We are not helped by an amicus curiae's expression of a
     “strongly held view” about the weight of the evidence, see
     New England Patriots Football Club, Inc. v. University of
     Colorado, supra, 592 F.2d at 1198 n. 3, but by being pointed
     to considerations germane to our decision of the appeal that
     the parties for one reason or another have not brought to our
     attention. The amicus briefs filed in this court rarely do
     that; and this amicus brief is not one of the rare exceptions.
     (Citations omitted.)(Emphasis added.)

See also, National Organization for Women v. Scheidler, 223 F. 3d 615,

617 (7th Cir. 2000) (“Amicus curiae briefs are often attempts to inject

interest-group politics into the federal appellate process by flaunting

the interest of a trade association or other interest group in the outcome

                                     10
 Case 2:18-mc-51358-BAF ECF No. 6 filed 10/10/18   PageID.118   Page 11 of 16




of the appeal.”); Voices for Choices v. Illinois Bell, 339 F.3d 542 (7th Cir.

2003); In Re Halo Wireless, Inc., 684 F.3d 581, 596 (5th Cir. 2012).

     The proposed amicus brief (Doc. 4) does not provide a unique

perspective or arguments to the Court which are not already advanced

by the government in its extensive filing. The first argument in the

brief centers on the claim that FGM is a serious human rights violation

that affects girls and women worldwide. This proposition not only has

no relevance to Congress’ authority to enact law, it is also sufficiently

addressed by the government in their filing. In their second argument,

the amicus brief does not state any new positions or arguments other

than what the government has already stated in its lengthy, detailed

response brief, drafted by a Department of Justice specialist.

     Further, the argument detailing other countries that have passed

laws against FGM is relevant to neither this Court’s determination

regarding the motion at hand, nor to Congress’ authority to enact laws

in the United States. All of the information relating to other countries

such as the United Kingdom, New Zealand, Canada, Germany, South

Africa, and Kenya should be struck. In the section regarding treaties,

again, the amicus brief offers no new arguments than what the

                                     11
 Case 2:18-mc-51358-BAF ECF No. 6 filed 10/10/18   PageID.119   Page 12 of 16




government has already covered in its response. Citing to the status of

the FGM laws in Europe and Africa is irrelevant. (Doc. 4 at 19.)

     Finally, the Commerce Clause argument also merely restates the

position of the government. Pointing out the prevalence of state-level

bans highlights that this is not an issue beyond state control but an

issue that can, and is, appropriately handled by the states.

     The government brief, authored at least in part by a Department

of Justice specialist, adequately and more than covers the issues in

great detail, far beyond the amicus brief at issue and certainly in a

more neutral, less inflammatory tone. While Equality Now, Sahiyo,

WeSpeakOut, and Safe Hands for Girls may have strong opinions on

public policy and agendas regarding the subject, the proposed brief does

not provide anything unique not already presented by the parties which

would aid the Court in deciding the constitutional issues.

     B.    The organizations involved in the amicus brief do not have
           access to the discovery in this matter and rely on completely
           irrelevant information to advance their arguments. Further,
           certain organizations involved are run, at least in part, by
           cooperating witnesses for the government and should not be
           allowed to forward their agendas via amicus briefs.




                                     12
 Case 2:18-mc-51358-BAF ECF No. 6 filed 10/10/18   PageID.120   Page 13 of 16




     On June 2, 2017, the Court entered a protective order regarding

discovery and related materials. (Doc. 48.) The protective order requires

the parties to treat discovery materials as confidential. As such, when

pre-trial motions have referenced details from discovery in this matter,

the defense and the prosecution have typically filed motions and

responses under seal. Upon information and belief, Equality Now,

Sayiho, WeSpeakOut and Safe Hands for Girls are not privy to

discovery materials, nor would they have the ability to learn about

nuanced circumstances of the case from public pleadings. As such,

much of the information relied upon by these organizations has

absolutely no value or relevance to this instant case as explained in

Argument A, supra.

     Finally, based upon discovery received under protective order, it

appears that individuals who are cooperating witnesses are also

extremely active members in at least two of the organizations that

drafted the amicus brief. Those individuals have already made public

statements and written an abundance of material available online

regarding this case and their positions. As these cooperating witnesses

remain potential government trial witnesses, they should not be able to

                                     13
    Case 2:18-mc-51358-BAF ECF No. 6 filed 10/10/18   PageID.121    Page 14 of 16




use amicus pleadings to advance their agendas.

        It is not the function of an amicus brief to serve as a megaphone

for individuals who want to be involved in the case, whether as

cooperating witnesses or as members of the public closely following a

case for personal reasons. Amici curiae are friends of the Court, not

friends of the government. Allowing the filing of an amicus brief such

as this provides an opportunity for publicity, regardless of whether the

individual’s opinions are based on the facts of the case.3 Clearly, in the

instant case, these individuals have an agenda that have nothing to do

with the actual facts of the case. Such publicity that has in fact

resulted, and will continue to result from, amicus filings is beyond the

ability of the Court to control and will adversely poison the pool of

potential jurors against the defense, who may rely on inaccurate,

baseless information.

        For all the above reasons, Defendants request that the Court deny

the motion for permission to file an amicus brief and order it stricken.




3 There has already been news coverage of the filing of amicus briefs. See, e.g.
https://www.detroitnews.com/story/news/local/detroit-city/2018/09/25/brides-who-
undergo-genital-mutilation-fetch-higher-price-group-claims/1420141002/.

                                        14
 Case 2:18-mc-51358-BAF ECF No. 6 filed 10/10/18   PageID.122   Page 15 of 16




                                   Respectfully submitted,

Dated: 10/10/2018                  /s/ Shannon M. Smith
                                   SHANNON M. SMITH
                                   Attorney for Jumana Nagarwala

Dated: 10/10/2018                  /s/ Mary Chartier
                                   MARY CHARTIER
                                   Attorney for Fakhruddin Attar

Dated: 10/10/2018                  /s/ Matthew Newburg
                                   MATTHEW NEWBURG
                                   Attorney for Farida Attar

Dated: 10/10/2018                  /s/ Jerome Sabbota
                                   JEROME SABBOTA
                                   Attorney for Tahera Shafiq

Dated: 10/10/2018                  /s/ Anjali Prasad
                                   ANJALI PRASAD
                                   Attorney for Farida Arif

Dated: 10/10/2018                  /s/ Brian M. Legghio
                                   BRIAN M. LEGGHIO
                                   Attorney for Fatema Dahodwala

Dated: 10/10/2018                  /s/ Lisa L. Dwyer
                                   LISA L. DWYER
                                   Attorney for Haseena Halfal

Dated: 10/10/2018                  /s/ Patricia A. Maceroni
                                   PATRICIA A. MACERONI
                                   Attorney for Zainab Hariyanawala




                                     15
 Case 2:18-mc-51358-BAF ECF No. 6 filed 10/10/18   PageID.123   Page 16 of 16




                      CERTIFICATE OF SERVICE

     I hereby certify that on the 10th of October 2018, I electronically

filed the foregoing document with the Clerk of the Court using the

ECF system which will send notification to parties enrolled through the

ECF system. A hard copy has been mailed via the United States Postal

Service to those who are not enrolled.

                                   /s/ Shannon M. Smith
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                                     16
